      Case 4:05-cr-00213-SWW   Document 87    Filed 07/13/06   Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                               NO.   4:05CR00213-003 SWW

ANTERRYO JERMAINE TODD




                                  ORDER

      A hearing was conducted on July 12, 2006, on the above defendant’s

motion to suppress physical evidence in this matter.       After evidence was

presented and arguments by counsel, the Court stated its findings, and

for the reasons set forth on the record, found that defendant’s motion

should be denied.

      IT IS THEREFORE ORDERED that the motion to suppress filed by

defendant Anterryo Jermaine Todd hereby is denied.

      DATED this 13th day of July, 2006.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
